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      In The United States Court of Federal Claims
                                         No. 12-582T

                                   (Filed: November 9, 2012)
                                           __________

 GLACIER MOUNTAIN,

                      Plaintiff,

        v.

 THE UNITED STATES,

                      Defendant.
                                         __________

                                          ORDER
                                         __________

         On November 2, 2012, defendant filed an unopposed motion for an enlargement of time
to file a response to the complaint. The motion is hereby GRANTED, in part. On or before
January 7, 2013, defendant shall file its response to the complaint.

       No further enlargements of this deadline will be granted.

       IT IS SO ORDERED.

                                                  s/ Francis M. Allegra
                                                  Francis M. Allegra
                                                  Judge
